                          Case 6:15-cr-10147-JWB Document 30 Filed 08/31/16 Page 1 of 1
A024SB       (Rev. 101 1s-0.atSe41ia)'.h~niliQMifuinW>Ofil.Jment:
                                                      28, Filed: 07-12-2016, Page 2 of 6
             Sheet 2 - Imprisonment
                                                                                                                        Judgment - Page 2 of6
DEFENDANT:                James K. Amel
CASE NUMBER:              6:15CRI0147 - 001

                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
60 months .



~        The Court makes the following recommendations to the Bureau of Prisons:
         At the request of defense counsel, the Court recommends the defendant be designated to the Bureau of Prisons in Seagoville,
         Texas or as a second choice to Englewood, Colorado in order to facilitate visitation with family and friends .

,D       The defendant is remanded to the custody of the United States Marshal.                                               FILED
                                                                                                                        U.S. District Court
                                                                                                                         District or K1nse1


0        The defendant shall surrender to the United States Marshal for this district.                               AUG 31 2016
         D at        on                                                                                         Cle~rlct Court
                                                                                                                By                    Deputy Clerk
         D as notified by the United States Marshal.


~        The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:

         D before         on

         ~   as notified by the United States Marshal.

         D as notified by the Probation or Pretrial Services Officer.


                                                             RETURN
I have executed this judgment as follows:




                     ~~ OC,d..0 I (. to ¥c. ::( ~,_f O h Jco "
Defendant delivered on                                                                                                   11    _.



at            '- ')B ~ ) ~           ,with a certified copy of this judgment.

                                                                                           ~tiAR:fu4L W'aAJ.,,.,     0-cl'·~~

                                                                                By~·~
                                                                                   MaJ:shaJ.. \
                                                                                              -    1'ebi it\/ U 8
